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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

 KRISTY BRYANT YULE, as
 Temporary Administrator of the Estate
 of MICHAEL BRYANT, JOHN
 DRAKE, BECKY KELLEY, AND
 HERBERT LOWE
                          Plaintiffs,
       v.                                           1:04-cv-2462-WSD
 VERNON JONES, MARILYN
 BOYD DREW, MORRIS
 WILLIAMS and RICHARD
 STOGNER in their individual
 capacities and in their official
 capacities,
                          Defendants.



                            OPINION AND ORDER


      This matter is before the Court on Defendants’ Joint Motion to Strike or For

Judgment on the Pleadings on Plaintiff Michael Bryant’s (“Bryant”) Claim for

Punitive Damages [398].

I.    PROCEDRUAL BACKGROUND

      Bryant is a former DeKalb County employee. In 2004, he filed this action

against Defendants for unlawful discrimination and harassment in violation of
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42 U.S.C. §§ 1981 and 1983. Bryant requested punitive damages based on these

claims to the extent they were brought against Defendants in their individual

capacities.

      On February 10, 2010, Bryant died. On March 12, 2010, Kristy Bryant

Yule, Temporary Administrator of Bryant’s estate, was substituted for Bryant as a

Plaintiff pursuant to Rule 25 of the Federal Rules of Civil Procedure.

      Defendants concede that Bryant’s §§ 1981 and 1983 causes of action may be

brought by the administrator of Bryant’s estate. Defendants, however, move to

strike or have dismissed Bryant’s requests for punitive damages based on his

§ 1983 causes of action brought against Defendants in their individual capacity.1

Defendants argue that the availability of punitive damages abates upon the death of

the original plaintiff. Plaintiffs oppose Defendants’ Motion and argue that

Eleventh Circuit precedent mandates that Georgia’s survival statute,

O.C.G.A. § 9-2-41, be applied and, under this statute, Bryant’s punitive damages

claims do not abate.




1
  Bryant’s individual capacity § 1981 claims have all been dismissed. Punitive
damages are improper for Bryant’s estate’s remaining § 1981 causes of action
which are all brought against Defendants in their official capacities. See City of
Newport v. Fact Concerts, Inc., 453 U.S. 247, 261 (1981) (punitive damages
cannot be awarded against a municipality).

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II.   DISCUSSION
      A.     Standard for Motions to Strike or for Judgment on the Pleadings

      Rule 12(f) of the Federal Rules of Civil Procedure allows the Court to

“strike from a pleading an insufficient defense or any redundant, immaterial,

impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f).

      “A motion for judgment on the pleadings is subject to the same standard as

is a Rule 12(b)(6) motion to dismiss.” Provident Mut. Life Ins. Co. of Philadelphia

v. City of Atlanta, 864 F. Supp. 1274, 1278 (N.D. Ga. 1994). The law governing

motions to dismiss pursuant to Rule 12(b)(6) for failure to state a claim is well-

settled. Dismissal of a complaint is appropriate “when, on the basis of a

dispositive issue of law, no construction of the factual allegations will support the

cause of action.” Marshall County Bd. of Educ. v. Marshall County Gas Dist., 992

F.2d 1171, 1174 (11th Cir. 1993).

      B.     Survival of §§ 1981 and 1983 Claims and Claims for Punitive
             Damages

      In Brazier v. Cherry, 293 F.2d 401 (5th Cir. 1961) the Circuit addressed the

survivability of civil rights claims brought by a representative of the decedent’s

estate.2 In Brazier, a Georgia widow sued police officers for beating her husband

2
  In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981), the
Eleventh Circuits adopted as binding the decisions of the Fifth Circuit made before
October 1, 1981.

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to death in violation of his constitutional rights. The widow brought her § 1983

claims as the widow of the decedent and as administratrix of the decedent’s estate.

The Circuit considered whether a victim’s death, resulting from violation of the

civil rights statutes, gives that victim’s survivors, including those representing his

or her estate, a federally enforceable claim for damages sustained by the victim

during his lifetime. Id. at 402.

      The Circuit recognized that the civil rights statutes “do not expressly refer to

actions for death or the survival of claims arising from civil rights violations.” Id.

at 403. The Court determined, in contravention of the federal common law rule

which generally holds that a claim extinguishes upon the death of the plaintiff, that

the decedent’s constitutional claims did not terminate upon his death because “it

defies history to conclude that Congress purposefully meant to assure to the living

freedom from such unconstitutional deprivations, but that, with like precisions it

meant to withdraw the protection of civil rights statutes against the peril of death.”

Id. at 403-04.

      “After concluding that the decedent’s claims did not terminate upon his

death, the Brazier Court determined that there remained a ‘gap’ between the civil

rights legislations . . . and the tolerant, hospitable construction to ameliorate the

hardships of the common law rule.”’ Carringer v. Rodgers, 331 F.3d 844, 849


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(11th Cir. 2003) (quoting Brazier, 392 F.2d at 407). The Circuit concluded that 42

U.S.C. § 1988 required courts to look to state law to fill this gap. Brazier, 392 F.2d

at 407. 42 U.S.C. § 1988(a) provides that, when federal law is “deficient” with

regard to “suitable remedies” in federal civil rights actions, federal courts are to be

governed by “the common law, as modified and changed by the constitution and

statutes of the State wherein the court having jurisdiction of [the] civil . . . cause is

held, so far as the same is not inconsistent with the Constitution and laws of the

United States.” Robertson v. Wegmann, 436 U.S. 584, 587.

      The Brazier Court determined that Georgia’s survival statute and wrongful

death statute filled this gap. Georgia’s survival statute states, in part:

      No action for a tort shall abate by the death of either party, where the
      wrongdoer received any benefit from the tort complained of; nor shall
      any action or cause of action for the recovery of damages for
      homicide, injury to the person, or injury to property abate by the
      death of either party. The cause of action, in case of the death of the
      plaintiff and in the event there is no right of survivorship in any other
      person, shall survive to the personal representative of the deceased
      plaintiff.

O.C.G.A. § 9-2-41 (emphasis added).3 The Circuit reversed the district court’s

dismissal of the widow’s individual claims and her claims as the decedent’s

administratrix, finding that “Georgia’s wrongful death and survival statutes were


3
 The Circuit in Brazier considered a former version of this statute, § 3-505, which
was largely the same as the present version.

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incorporated into federal law under § 1988.” Carringer, 331 F.3d at 849 (quoting

Rhyne v. Henderson County, 973 F.2d 386, 390 (5th Cir. 1992).

      Plaintiffs contend that Brazier controls whether Bryant’s §§ 1981 and 1983

claims survive and whether the administrator of Bryant’s estate may request

punitive damages based on those claims. Plaintiffs assert that since Bryant’s

§§ 1981 and 1983 claims all survive under Brazier, all damages available under

these causes of action should survive as well.

      Defendants contend that Plaintiffs overstate the holding in Brazier.

Defendants concede that under Brazier, Bryant’s §§ 1981 and 1983 survive. They

argue, however, that Brazier does not address whether the punitive damages

component of an individual’s civil rights claim survives a plaintiff’s death.

      Defendants argue that Bryant’s claim for punitive damages abated at his

death because an award of punitive damages would be inconsistent with federal

common law which states that a federal cause of action for a penalty does not

survive the death of a plaintiff. See, e.g., Kilgo v. Bowman Transp. Inc., 789 F.3d

859, 876 (11th Cir. 1986); U.S. v. NEC Corp., 11 F.3d 136, 137 (11th Cir. 1994

(“It is well-settled that remedial actions survive the death of the plaintiff, while

penal actions do not.”)). Defendants rely on district court decisions from

Tennessee and Missouri to support this contention. See Medrano v. MCDR, Inc.,


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366 F. Supp. 2d 625 (W.D. Tenn. 2005); Earvin v. Warner-Jenkinson Co., 1995

WL 137437 (E.D. Mo. 1995).

         Medrano and Earvin both involved § 1981 employment discrimination

claims brought by a plaintiff who died after filing suit. In Earvin, the district court

found that based on Missouri’s survival statutes “plaintiff’s claims in this action

generally survive his death and such general survival is not inconsistent with

federal law.” 1995 WL 137437 at *2. The district court held, however, that since

a punitive damages claim is penal in nature and since under federal common law a

federal cause of action for a penalty does not survive the death of the plaintiff, the

plaintiff’s request for punitive damages based on his § 1981 claim was inconsistent

with federal law and therefore subject to dismissal. Id.; Medrano v. MCDR, Inc.,

366 F. Supp. 2d at 636 (holding same).4

         The Court finds that Defendants’ Motion presents an unsettled issue of law

within this Circuit and finds the Brazier case is a strong precedent; but the Court

understands the law here is nuanced and requires thoughtful analysis. Based upon

the record before the Court and in light of the pendency of trial, the Court denies

the Motion without prejudice thus allowing Plaintiffs to present to the jury whether

Bryant’s estate is entitled to punitive damages based on Defendants’ conduct. The


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    Plaintiffs elected not to discuss or distinguish these cases in their Opposition.

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Court finds that Defendants will not be prejudiced if the jury is asked to consider

whether Bryant’s estate is entitled to punitive damages, because the jury also will

be asked to consider whether the other plaintiffs in this action are entitled to

punitive damages.5 Upon the conclusion of trial, Defendants are invited to raise

this issue again for the Court’s further consideration after the development of the

trial record.

III.   CONCLUSION

       Accordingly:

       IT IS HEREBY ORDERED that Defendants’ Joint Motion to Strike or for

Judgment on the Pleadings on Plaintiff Bryant’s Claim for Punitive Damages [398]

is DENIED without prejudice to the renewal of the Motion after the trial of this

action.

       SO ORDERED this 17th day of March, 2010.

                                 _________________________________________
                                 WILLIAM S. DUFFEY, JR.
                                 UNITED STATES DISTRICT JUDGE




5
  As demonstrated by the parties’ pre-trial papers, Plaintiffs and Defendants will
rely on the same evidence to argue whether each Plaintiff is entitled to punitive
damages.

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